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     6                     IN THE UNITED STATES DISTRICT COURT
     7                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
     8    ATZE AKKERMAN, et al.                         Case No. 2:22-cv-06653-JLS-RAO
     9                        Plaintiff,                NOTICE OF CHANGE OF FIRM
   10                                                   FOR PETER A. ARHANGELSKY
          v.
   11
          U.S. FOOD AND DRUG
   12     ADMINISTRATION, et al.,
   13
                               Defendant.
   14
   15          Peter A. Arhangelsky, attorney for Plaintiff Atze Akkerman, hereby notifies the
   16    Court and the parties that he has joined the law firm of Greenberg Traurig, LLP.
   17          Mr. Arhangelsky’s new contact information is as follows:
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   23    DATED this 16th day of February 2024.

   24                                             GREENBERG TRAURIG, LLP
   25
                                               By:    /s/ Peter A. Arhangelsky
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